Case 2:10-cr-00722-SRC                Document 81         Filed 05/04/11     Page 1 of 1 PageID: 204




                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY

                        UNITED STATES v. STE VIE BUCK USE, 10-cr-722 (SRC)
                                  Sf1 No.: 981 290B D.O.B.
                                                      ,




                  PETITION FOR VRIT OF HABEAS CORPUS
1. SIEVIE BUCKUSE, SBI No.: 9812908                                is now confined at the Essex Count
Correctional Facility, 356 Doremus Avenue, Newark, NJ.

2 Ibis mdix idual is a defendant in a federal case and ill he required at Newark, New
                                                                                      Jersey before the
lion. Stanlc\ R. Chesler, on Monday, May 9, 2011 at 11:00 n.m. for a status conference.
                                                                                          A Writ of
Habeas Corpus should be issued for that purpose.

DATED: Ma 4. 7011                                           S*RODNEY VILLA/OR
                                                           Rodney C. Villazor
                                                           Assistant US Attorney
                                                           Petitioner 93-645-2S23
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              /                 If                        yRQILr
                                 WRiT OF HABEAS CORPUS
The United States of America to Warden of the Essex County Correctional Facility:
WI: COMMAND YOU that you have the body of:

                       STEVIE BUCKUSE, Sf1 No.: 9812908 D.O.E ,




now confined at the Essex County Correctional Facility, on Monday, May 9, 2011 at 11:00 am.
be brought before the United States District Court, the Hon. Stanley R. Chesler, U.S. District
Judge, in the Frank R. Lautenberg U.S. Post Office and Courthouse. Federal Square, Newark,
Ne\\ Jersey 07102 on Monday, May 9, 2011 at 11:00 a.m., so that he may appear for a status
conference in the above-captioned matter.

                WiTNESS the Honorable Stanley’ R. Chesler
                United States District Judge
                Newark, New Jersey.


DAI 11)     -   I 11        /    /j             WILLI \M I \ ALSH
                                                Clerk ot the U.S District Court
                                                for the District of New Jersey

                                                Pe/4L12’4
